                                                                               Ex. A
                               STATE OF MICHIGAN
                   DISTRICT COURT FOR THE 67th JUDICIAL DISTRICT
                                GENESEE COUNTY


PEOPLE OF THE STATE OF
MICHIGAN,
                                             Case No. 21G-00046-SM
         Plaintiff,
                                             Hon. William H. Crawford, II
v

RICHARD DALE SNYDER,

         Defendant.

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Bryant Osikowicz (P72377)                    Charles N. Ash, Jr. (P55941)
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                                 AMENDED PROTECTIVE
                                       ORDER




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                                  At a session of said Court
                                held in the County of Genesee,
                               City of Flint, State of Michigan,
                            on this_______day of__________, 2021.

                          HONORABLE WILLIAM H. CRAWFORD
                               67th District Court Judge

With the agreement of all the parties, the Court enters the following Amended
Protective Order to supersede the Protective Order entered on March 31, 2021:


                              STIPULATION BY PARTIES

    1. “Privileged or Confidential Information” shall mean and include:

       a. confidential, non-public including but not limited to:

                i.      financial information;

                ii.     social security numbers; and

                iii.  bank account or credit card numbers; information subject to
                attorney-client, attorney work product, or recognized privilege, and
                any document designated as confidential or privileges by a court,
                including but not limited to documents related to mediation
                negotiations in the City of Detroit chapter 9 bankruptcy case, numbers
                13-53846, pending in the United States District Court for the Eastern
                District of Michigan (the “Detroit Mediation Documents”);

      b. an individual’s medical records and other Protected Health Information
         with the following qualifications:

               i.       “Covered Entity” shall mean as it is defined by 45 C.F.R. §
                        160.103;

               ii.      “Protected Health Information” shall mean as it is defined by 45
                        C.F.R.§ 160.103;

               iii.     Protected Health Information may not be used for any purpose
                        other than for this litigation; and

               iv.      Protected Health Information must be returned to the Covered
                        Entity or destroyed at the end of this litigation;


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      c. any documents regarding or related to an individual’s water sampling
       results, including residential water sampling, correspondence with residents
       related to sampling, that includes personal information for such individuals
       (e.g., personal emails, cell phone numbers, account numbers, etc.).


    2. Information described in paragraph 1 is not Privileged or Confidential

Information if it:

           i.    is or becomes publicly available, without any fault of, or violation of
                this Order by, any Party and without any violation of a duty of
                confidentiality by a third party;

           ii. was in the possession of any Party free of any obligation of
               confidentiality at the time it was received by such Party; or

           iii. was developed by employees or agents of such Party independently
               without access to or use of any Privileges or Confidential Information.

   3. “Department of Attorney General – Civil Team” shall mean the assistant

attorneys general representing state officials and agencies in civil litigation related

to the Flint water crisis.

   4. “Document” shall mean and include any form of information or data,

electronic or otherwise.

   5. The Documents gathered pursuant to search warrants issued to the

Department of Attorney General – Civil Team in May 2019 (the “Search

Warrants”), and which have and will continue to be produced in discovery in this

case by the People, may include Privileged or Confidential Information.

   6. There was no waiver of privilege for Documents gathered under the Search

Warrants. Disclosure of those documents through discovery in this case will not be

construed as a waiver of privilege and any Documents that were confidential

remain confidential notwithstanding their production in this case.
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   7. A party producing discovery material in this action may designate documents

meeting the criteria above as Privileged or Confidential Information and restricted

in disclosure under this Order by placing or affixing the words “Privileged” or

“Confidential” on the document in a manner that will not interfere with the

legibility of the document. All discovery material designated as “Privileged” or

“Confidential,” shall be treated as Privileged or Confidential Information under the

provisions of this Order. A party may also designate documents as “Privileged” or

“Confidential” in a separate writing by number or description.

   8. Material marked as Privileged or Confidential Information must be done so in

good faith to keep from the public record personal information such as social

security numbers, medical records, biometric records, alone, or when combined with

other personal or identifying information.

   9. A party may, at any time, make a good faith challenge to a producing or

designating Party's designation of any material as Privileged or Confidential

Information by providing the producing and designating Party with a written notice

specifying the documents to which the party objects and a brief explanation of each

objection. The parties agree to work in good faith to address any dispute. To the

extent an issue cannot be resolved, the designating Party must file a motion to

maintain its designation pursuant to MCR 6.201(E). In filing such a motion, the

designating Party shall have the burden of establishing that there is good cause for

the information in question to maintain its confidentiality classification. Except as

otherwise provided herein, pending the Court's decision on any motion filed by a



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designating Party to maintain its confidentiality classification, the information in

question shall continue to be treated as Privileged or Confidential Information. A

Party shall not be obligated to challenge the propriety of the designation as

Privileged or Confidential Information at the time the designation is made, and

failure to make such a challenge shall not preclude a subsequent challenge thereto.

Inadvertent or unintentional disclosure of Privileged or Confidential Information

shall not be deemed a waiver in whole or in part of the confidential nature of the

material disclosed.

   10. Privileged or Confidential Information produced in this prosecution will be

used solely for the preparation, trial, and appeal of this action, which shall include

any related Flint Water Crisis prosecutions the prosecution has brought against

other defendants (the "Flint Water Crisis Prosecutions") as well as any current or

future civil lawsuits in which the defendant is a party-and shall not be used for any

other purpose. Privileged or Confidential Information may be disclosed only to:


      a. Parties. Parties to the Flint Water Crisis Prosecutions;

      b. Counsel. Counsel for the Parties, and employees and agents of counsel,

          who have responsibility for the preparation or trial of the action;


      c. Consultants, Investigators, and Experts. Consultants, investigators,

          and experts retained or consulted by the Parties or counsel for the Parties

          to assist in the preparation, trial, or appeal of the above-captioned

          prosecution and/or Flint Water Crisis Prosecutions who have agreed to be

          bound by this Order;
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      d. Witnesses. Witnesses at, or in preparation for, their deposition, hearing,

         or trial, in which event such witnesses shall only be shown the Privileged

         or Confidential Information and shall not be allowed to retain copies;


      e. Judicial Officers and Court Personnel. Judicial officers and

         personnel of the Flint District Court and Genesee County Circuit Court;

         and


      f. Court Reporters and Recorders. Stenographic reporters retained by

         the parties or Court to transcribe depositions and/or hearings.


   11. Persons to whom Privileged or Confidential Information is shown or

disclosed pursuant to paragraph 10 above shall be advised that the Privileged or

Confidential Information is subject to this Order and may only be disclosed and

used under the terms of this Order.


    12. Before any Privileged or Confidential Information may be disclosed to any

expert or other persons identified in subparagraph 10(c), such person shall be

required to read this Order in its entirety and sign the attached Acknowledgment

and Agreement to Be Bound signifying his or her agreement to abide by its terms.

Copies of all signed acknowledgements shall be maintained by counsel making the

disclosure, and shall be delivered to the other party's counsel upon request.


    13. Any party who has received Privileged or Confidential Information, and

who is thereafter compelled by any law or court order to disclose such Privileged or



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Confidential Information in a manner contrary to the terms of this Order, will use

all reasonable efforts to immediately notify the producing party of the obligation to

disclose. Any such party shall also disclose only the particular Privileged and

Confidential Information required to be disclosed and shall make all reasonable

efforts to protect any remaining Privileged and Confidential Information from

disclosure in accordance with the terms of this Order.


    14. Privileged and Confidential Information may not be used during testimony

in discovery depositions, in motion practice, hearing and at the trial of this action,

except as permitted by the Court. Any such use of Privileged and Confidential

Information is subject to the Michigan Rules of Evidence and applicable rulings of

the Court, and may only be used by the persons designated in Paragraph 5 to

prepare for any trial, in motion practice, hearings, or depositions held in this action

and/or the Flint Water Crisis Prosecutions under the terms of this Order. Prior to

the time of trial of any Flint Water Crisis Prosecution, counsel for the parties will

confer with the Court for the purpose of deciding how Privileged or Confidential

Information introduced into evidence will be treated in the Court record and what

protective instructions will be given to the jury regarding the Privileged or

Confidential Information.

    15. In addition to the other requirements for the use of Privileged or

Confidential Information set forth in this Order, a party seeking to use Bankruptcy

Mediation Documents in a manner described in paragraph 14 or to otherwise make

public the contents of any Bankruptcy Mediation Documents must first obtain


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approval of the bankruptcy court overseeing the City of Detroit bankruptcy case and

must comply with all relevant orders regarding Bankruptcy Mediation Documents

entered in the City of Detroit bankruptcy case.

    16. Nothing in this Order shall be intended or construed to limit the manner in

which a producing party may use, disclose, store, or otherwise treat its own

Privileged or Confidential Information for purposes unrelated to this litigation.

    17. Nothing in this Order abridges the right of any person to seek its

modification by the Court in the future. By stipulating to this Order, the Parties do

not waive the right to argue that certain material may require additional or

different confidentiality protections than those set forth herein.

    18. This Order shall be binding upon the Parties hereto, their attorneys, and

their successors, executors, personal representatives, administrators, heirs, legal

representatives, assigns, subsidiaries, divisions, employees, agents, retained

consultants and experts, and any persons or organizations over which they have

direct control; and upon any person subject to the jurisdiction of the Court who

receives Privileged or Confidential Information hereunder.

    19. A nonparty producing information or material voluntarily or pursuant to a

subpoena or a court order may designate such material or information in the same




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manner and will enjoy the same level of protection under this Order as any party to

this action.



                                                                _________________________________
                                                                Honorable William Crawford
                                                                District Court Judge


Approved as to form:



__________________________________
Fadwa Hammoud (P74185)
Molly Kettler (P59877)
Bryant Osikowicz (72377)
Attorneys for the People




__________________________________
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Charles N. Ash, Jr. (PP55941)
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SG FW Snyder, R./Amended Protective Order (Snyder) 2021.05.25




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